Case 2:OO-CV-02923-SH|\/|-egb Document 266 Filed 08/03/05 Page 1 of 4 Page|D 445

FlLED BY ._____ D.c.
J:N THE UNITED sTATES DISTRICT cOURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AU{; -»3 PH 5:2|
wESTERN DIVISION

 

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COMMISSION, and
CONSTANCE AMOS,
Plaintiffs,
VS. NO. 00-2923-Ma
AUTOZONE, INC.,

Defendant.

 

ORDER GRANTING MOTION TO EXTEND TIME

 

Before the court is the August 2, 2005, joint motion of the
parties requesting additional time within which to file reply
memoranda. For good cause shown, the motion is granted.
Autozone shall have to and including August 12, 2005, within
which to file a reply brief with respect to its motion for
summary judgment. EEOC shall have to and including August 12,
2005, within which to file a reply brief with respect to its
motion in limine.

It is so ORDERED this 30& day of Augu?ZOOS.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

